Case 1:25-cv-22896-JEM Document 14-2 Entered on FLSD Docket 06/30/2025 Page 1 of 2


    From:             Paul J. Schwiep
    To:               USAFLS.CitizenComplaints@usdoj.gov
    Cc:               Scott A. Hiaasen; Yvette Van Bylevelt; Loisset Dulzaides-Perez; Service; EBennett@biologicaldiversity.org; Tania
                      Galloni; jtotoiu@biologicaldiversity.org; dburkhardt@earthjustice.org"
    Subject:          1:25-cv-22896-JEM | Plaintiff"s Expedited Motion | Friends of the Everglades v. Kristi Noem, in her official
                      capacity
    Date:             Friday, June 27, 2025 2:25:15 PM
    Attachments:      2025.06.27 Proposed Order Granting TRO.docx
                      2025.06.27 - DE 5 Pls" Expedited Motion for Temporary Restraining Order and Preliminary Injunction.pdf



    Dear United States Attorney O’Byrne:

    Please find attached Plaintiffs’ communication to the Court requesting a
    hearing on Plaintiffs’ Expedited Motion for a Temporary Restraining
    Order and Preliminary Injunction. Please kindly confirm receipt of this
    electronic notification.

    Pablo J. Schwiep

    COFFEY | BURLINGTON
    O. 305-858-2900
    M. 305-495-3833

    From: Yvette Van Bylevelt <yvb@coffeyburlington.com>
    Sent: Friday, June 27, 2025 2:05 PM
    To: martinez@flsd.uscourts.gov
    Cc: Paul J. Schwiep <pschwiep@coffeyburlington.com>; Scott A. Hiaasen
    <shiaasen@coffeyburlington.com>; Yvette Van Bylevelt <yvb@coffeyburlington.com>; Loisset
    Dulzaides-Perez <lperez@coffeyburlington.com>; Service <service@coffeyburlington.com>;
    EBennett@biologicaldiversity.org; tgalloni@earthjustice.org; jtotoiu@biologicaldiversity.org;
    dburkhardt@earthjustice.org
    Subject: 1:25-cv-22896-JEM | Plaintiff's Expedited Motion | Friends of the Everglades v. Kristi Noem,
    in her official capacity

    Good afternoon Your Honor,

    Re:        Friends of the Everglades v. Kristi Noem, in her official capacity
                 as Secretary of the United States Department of Homeland Security
               Case No. 1:25-cv-22896-JEM

    On behalf of Paul J. Schwiep, attached for the Court’s consideration is a proposed
    order (in Word format) on Plaintiffs’ Expedited Motion for Temporary Restraining
    Order and Preliminary Injunction (ECF No. 5, copy also attached for ease of
    reference).

    Should you have any questions, please have your Judicial Assistant contact us.

                                                                                                                         Exhibit 2
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    Respectfully,

    Yvette Van Bylevelt
    Legal assistant to Paul J. Schwiep and Melissa J. Jacobs
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                                                                                                            Exhibit 2
